         Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MARK NUNEZ, ET AL.
                                                             Case No. 11-cv-5845 (LTS)
                         Plaintiffs,

         -against-

 THE CITY OF NEW YORK, ET AL.

                         Defendants.



                    DECLARATION OF MARY LYNNE WERLWAS
             IN SUPPORT OF PLAINTIFF’S MOTION FOR CONTEMPT AND
                 APPLICATION FOR APPOINTMENT OF A RECEIVER

        I, Mary Lynne Werlwas, under penalty of perjury, pursuant to 28 U.S.C. § 1746, declares

that the following is true and correct:

        1.      I am an attorney licensed to practice law in the State of New York and admitted to

practice in this Court. I am Director of the Prisoners’ Rights Project at The Legal Aid Society,

counsel for the Plaintiff Class in this case.

        2.      Attached hereto as exhibits are true and correct copies of the following documents

in support of Plaintiffs’ Motion for Contempt and Application for Appointment of a Receiver:

                                                                                          Filed
                                                                                          under
 Ex. DOC Material                                                                         seal
   1 Directive 5006R-D, Use of Force                                                      Yes
   2 Directive 4521R-A, Suicide Prevention and Intervention                               No
     Directive 7504R-A, Suspension from Duty and/or Placement on Modified
   3 Assignment                                                                           Yes
   4 Operations Order 01/23 re Tour Wands                                                 Yes
   5 Operations Order 11/17 re: Watch Tour System                                         Yes
   6 Memorandum #14/23 re: Watch Tour Compliance/Discipline                               Yes
   7 Operations Order 24/16 re: Special Unit Assignments                                  Yes
       Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 2 of 9




  8 Operations Order 25/19 re: Facility Response Teams                           Yes
  9 Teletype Order No. HQ-00944-0 re: Supervisor Tours and Responsibilities      Yes
 10 Teletype Order No. HQ-02948-1 re: Supervisor Tours and Responsibilities      Yes
    Memorandum from Louis Molina, Commissioner, to DOC leadership re:
 11 Decreasing Violence at RNDC, Feb. 22, 2022                                   Yes
    Memorandum from Louis Molina, Commissioner, to Steve J. Martin, Monitor,
 12 re: NYC DOC RNDC Emergency Response Plan, Apr. 14, 2022                      Yes
      Memorandum from Christopher Miller, Deputy Commissioner, to Louis
 13   Molina, Commissioner re: GRVC Proposed Schedule, Oct. 11, 2022             Yes
 14   Security Memo 067/21 re Slashing/Stabbings at RNDC                         Yes
 15   Index of NCU Security Audits as of September 25, 2023                      No
 16   Summaries of NCU Security Audits                                           No
 17   Full NCU Audit – AMKC, Quad 12 Lower Review, December 22, 2021             Yes
 18   Full NCU Audit - OBCC, 3 South and 3 Southwest Review, February 20, 2022   Yes
 19   Full NCU Audit – GRVC, Building 10B Review, March 3, 2022                  Yes
 20   Full NCU Audit – NIC, Dorm 5 North, April 4, 2022                          Yes
 21   Full NCU Audit – OBCC, 2 Upper Review, May 5, 2022                         Yes
 22   Full NCU Audit – EMTC Building 4 Main Review, August 8, 2022               Yes
 23   Full NCU Audit – RNDC 2 Upper South Review, February 21, 2023              Yes
 24   Full NCU Audit – AMKC Quad Upper 13 Review, April 6, 2023                  Yes
 25   Full NCU Audit – GRVC 9A, May 7, 2023                                      Yes
 26   Full NCU Audit – EMTC 9 Lower Review, June 25, 2023                        Yes
 27   Full NCU Audit – RNDC 3 Lower South, Aug. 15, 2023                         Yes
 28   Facility Responses to NCU Security Audits                                  Yes
 29   Index of NCU's COD Assessments                                             Yes
 30   NCU’s COD Assessments from 2022 and 2023                                   Yes
 31   Facility Responses to NCU's COD Assessments                                Yes
 32   Summary of Case Involving Assistant Commissioner                           Yes
 33   DOC 16th Compliance Report + appendices                                    Yes
      DOC Quarterly Emergency Lock-In Report, FY23 Quarter 4 (April 1st - June
      30th), available at
      https://www.nyc.gov/assets/doc/downloads/pdf/FY23_Q4_Emergency_Lock-
 34   In%20Report.pdf (last accessed Nov. 11, 2023)                              No
                                                                                 Filed
                                                                                 Under
Ex. UOF & COD Incidents & Related Materials                                      Seal
    Excerpts from CMS Preliminary Review Reports for March, April, May, July,
 35 and August 2023                                                              Yes

                                          2
       Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 3 of 9




 36   ID Packet for UOF 1069/23                                                       Yes
 37   ID Packet for UOF 1156/23                                                       Yes
 38   ID Packet for UOF 1703/23                                                       Yes
 39   Report for COD 1779/23                                                          Yes
 40   ID Report from ID Packet for UOF 2062/23                                        Yes
 41   ID Packet for UOF 2893/23                                                       Yes
 42   ID Packet for UOF 2239/23                                                       Yes
43-
 47   Intentionally omitted
                                                                                      Filed
                                                                                      Under
Ex. Correspondence                                                                    Seal
    Letter dated June 25, 2019 from Plaintiffs’ Counsel to Defendants re
 48 Noncompliance                                                                     No
    Letter dated July 24, 2023 from Plaintiffs’ Counsel to Defendants re
 49 Noncompliance                                                                     No
    Letter dated August 23, 2023 from Defendants to Plaintiffs' Counsel regarding
 50 Noncompliance                                                                     No
                                                                                      Filed
                                                                                      Under
Ex.   External reports                                                                Seal
      NYC Health + Hospitals, Corr. Health Services, CHS Injury Reporting: April
      2023 (Apr. 25, 2023),
      https://www.nyc.gov/assets/boc/downloads/pdf/Reports/chs-doc/CHS-and-
 51   DOC-Joint-Injury-Report-April-2023.pdf.                                         No
      N.Y. Att’y General, Office of Special Investigation (OSI) Third Annual Report
      (Oct. 1, 2023)
 52   https://ag.ny.gov/sites/default/files/2023-10/20230929f-third-ann-rpt.pdf.      No
       N.Y.C. Board of Corr., First Report and Recommendations on 2023 Deaths in
      New York City Department of Correction Custody, City of N.Y. (Nov. 9,
      2023), https://www.nyc.gov/assets/boc/downloads/pdf/Reports/BOC-
      Reports/first_report_and_recommendations_on_2023_deaths_in_doc_custody
 53   _chs_comments.pdf.                                                              No
      N.Y.C. Board of Corr., February & March 2022 Deaths in DOC Custody
      Report and Recommendations (May 9, 2022),
      https://www.nyc.gov/assets/boc/downloads/pdf/Reports/BOC-Reports/deaths-
 54   report-and-chs-response-202202-202203.pdf.                                      No
      N.Y.C. Board of Corr., Second Report and Recommendations on 2022 Deaths
      in New York City Department of Correction Custody (Nov. 16, 2022),
      https://www.nyc.gov/assets/boc/downloads/pdf/Reports/BOC-Reports/FINAL-
      Second-Report-and-Recommendations-on-2022-Deaths-in-DOC-Custody-and-
 55   CHS-response.pdf.                                                               No


                                             3
       Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 4 of 9




      N.Y.C. Board of Corr., Third Report and Recommendations on 2022 Deaths in
      New York City Department of Correction Custody (Apr. 12, 2023),
      https://www.nyc.gov/assets/boc/downloads/pdf/Reports/BOC-Reports/FINAL-
      Third-Report-and-Recommendations-on-2022-Deaths-in-DOC-Custody-and-
 56   CHS-response.pdf.                                                               No
      N.Y.C. Board of Corr., Oct. 18, 2022 Public Meeting Minutes (Oct. 18, 2022),
      https://www.nyc.gov/assets/boc/downloads/pdf/Meetings/2022/October/2022.
 57   10.18-Minutes-Final.pdf.                                                        No
      N.Y.C. Comptroller, Department of Correction FY 2023 (2023),
      https://comptroller.nyc.gov/reports/agency-watch-list/fy-2023/department-of-
 58   correction-fy-2023/.                                                            No
      N.Y.C. Comptroller, NYC Dep't of Correction FYs 2011-21 Operating
      Expenditures, Jail Population, Cost Per Incarcerated Person, Staffing Ratios,
      Performance Measure Outcomes, and Overtime (Dec. 2021),
 82   https://comptroller.nyc.gov/reports/nyc-department-of-correction/.              No
      N.Y.C. Comptroller, McKinsey Contract Information, checkbooknyc.com,
      https://www.checkbooknyc.com/smart_search/citywide?search_term=mckinse
 59   y*!*agency_name=department%2Bof%2Bcorrection.                                   No
      N.Y.C. Comptroller, KMPG Contract Information, checkbooknyc.com,
      https://www.checkbooknyc.com/smart_search/citywide?search_term=CT1072
 60   20238804773&page=1.
 61   COBA v. City of New York, 14 OCB2d 19 (BCB 2021)                                No
 62   COBA v. City of New York, 14 OCB2d 10 (BCB 2021)                                No
 63   COBA v. City of New York, 11 OCB2d 17 (BCB 2018)                                No
 83   COBA v. City of New York, 11 OCB2d 33 (BCB 2018)                                No
                                                                                      Filed
                                                                                      Under
Ex.   News articles & Other Material                                                  Seal
      Jan Ransom & Jonah E. Bromwich, Tracking the Deaths in New York City’s
      Jail System, N.Y. Times (Oct. 19, 2023),
 64   https://www.nytimes.com/article/rikers-deaths-jail.html.                        No
      Todd S. Purdum, 100 Jail Guards Reportedly Quit Emergency Unit, N.Y.
      Times (Oct. 22, 1986), https://www.nytimes.com/1986/10/22/nyregion/100-
 65   jail-guards-reportedly-quit-emergency-unit.html.                                No
      Graham Rayman, New head of NYC Correction Department unit criticized for
      Rikers Island violence was accused in caught-on-video assault of Kalief
      Browder, N.Y. Daily News (Apr. 20, 2023),
      https://www.nydailynews.com/new-york/nyc-crime/ny-rikers-emergency-
      service-unit-julio-colon-vaughn-grinnage-kalief-browder-20230420-
 66   2hxaiir6wjh5zdmywft3iupwsy-story.html.                                          No
      Jennifer Gonnerman, Exclusive Video: Violence Inside Rikers, The New
      Yorker (Apr. 23, 2015), https://www.newyorker.com/news/news-
 67   desk/exclusive-video-violence-inside-rikers.                                    No

                                             4
      Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 5 of 9




     N.Y.C. Dep’t of Corr., Manuel J. Hernandez to Serve as Deputy
     Commissioner of the Investigation Division, City of N.Y. Correction Dep't
68   (May 9, 2022), nyc.gov/site/doc/media/manuel-hernandez.page.                     No
     N.Y.C. Board of Corr., Statement on Loss of Access to Jail Video, City of N.Y.
     (Jan. 18, 2023),
     https://www.nyc.gov/assets/boc/downloads/pdf/News/Statement-on-Video-
69   Access-1.18.23.pdf.                                                              No
     Reuven Blau, Correction Department Stops Sharing Timesheet Data with
     Oversight Board, The City (Jul. 18, 2023),
     https://www.thecity.nyc/2023/7/18/23799621/correction-board-timesheet-data-
70   molina.                                                                          No
     Reuven Blau, City Jails No Longer Announcing Deaths Behind Bars, Angering
     Watchdogs, The City (May 31, 2023),
     https://www.thecity.nyc/2023/5/31/23744666/correction-jails-not-announcing-
71   deaths-rikers.                                                                   No
     Graham Rayman, NYC Correction Commissioner Louis Molina suspends
     captain working as investigator for not signing jail logbook (Exclusive), N.Y.
     Daily News (Jul. 4, 2023), https://www.nydailynews.com/new-york/nyc-
     crime/ny-rikers-correction-captain-investigator-suspended-20230704-
72   trh34u7eizbhfmgmfrfkcvd2je-story.html.                                           No
     The N.Y.C. Dep’t of Corr., DOC Appoints Five Assistant Commissioners of
     Operations, City of N.Y. Correction Dep't (Apr. 24, 2022),
73   https://www.nyc.gov/site/doc/media/five-assistant-commissioners.page.            No
     Graham Rayman, Five new Rikers Island jail wardens meant to bring in
     outside ideas — but three have years of NYC Correction Dept. work history,
     N.Y. Daily News (Apr. 26, 2023),
     https://www.nydailynews.com/2023/04/26/five-new-rikers-island-jail-
     wardens-meant-to-bring-in-outside-ideas-but-three-have-years-of-nyc-
74   correction-dept-work-history/.                                                   No
     Jan Ransom, Jail Unions Gain a Powerful Supporter: The New Mayor, N.Y.
     Times (Jan. 14, 2022), https://www.nytimes.com/2022/01/14/nyregion/rikers-
75   jail-unions-eric-adams.html                                                      No
     Nolan Hicks & Craig McCarthy, Eric Adams Defends Firing of Top Internal
     Jails Cop After Union Pressure, N.Y. Post (Jan. 5, 2022),
     https://nypost.com/2022/01/05/adams-defends-firing-of-top-internal-jails-cop-
76   after-union-pressure/                                                            No
   Eric Lach, What is Eric Adams's Plan for the Rikers Island Crisis?, New
   Yorker (Jan. 23, 2022), https://www.newyorker.com/news/our-local-
77 correspondents/whats-eric-adamss-plan-for-the-rikers-island-crisis                 No
   Letter dated Jan. 4, 2022 on COBA and CCA Letterhead addressed to COBA
78 and CCA Members                                                                    No
   COBA (@NYCCOBA1), Twitter (Jan. 4, 2022, 7:39 P.M.),
79 https://twitter.com/NYCCOBA1/status/1478526587238768641                            No
80 Who’s Next? Image                                                                  No

                                            5
            Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 6 of 9




   81 Video of COBA Leader                                                                    No
                                                                                              Filed
                                                                                              Under
 Ex.      Declarations                                                                        Seal
  84      Declaration of Carlton James dated November 10, 2023                                No
  85      Declaration of Joshua Gonzalez dated November 9, 2023                               No
  86      Declaration of Andre Brown dated November 9, 2023                                   No
  87      Declaration of Joseph Myers dated November 9, 2023                                  No
  88      Declaration of James Bradley dated November 9, 2023                                 No
  89      Declaration of Michael Jacobson dated November 15, 2023                             No
  90      Declaration of Gilson Garcia dated November 9, 2023                                 No

          3.     While Plaintiffs are filing Exhibits 35, 36, 37, 38, 39, 40, 41, and 42 under seal

pursuant to the operative protective order in this matter, Plaintiffs are concurrently filing a letter

motion seeking permission to file these exhibits publicly with minimal redactions.

          4.     The following documents have been assigned an exhibit number, are incorporated

as exhibits to my declaration, and are available at the docket entries below in the docket for this

matter.

 Ex.      Hearing Transcripts                                                                    Dkt.
  91      Transcript of Aug. 10, 2023 Status Conference                                          566
  92      Transcript of June 13, 2023 Status Conference                                          554
  93      Transcript of Apr. 27, 2023 Status Conference                                          530
  94      Transcript of Nov. 17, 2022 Status Conference                                          490
  95      Transcript of May 24, 2022 Status Conference                                           460
  96      Transcript of Apr. 26, 2022 Status Conference                                          456
  97      Transcript of Dec. 2, 2021 Status Conference                                           433
  98      Transcript of Sept. 24, 2021 Status Conference                                         407
 Ex.      Monitor’s Filings                                                                      Dkt.
  99      Declaration of Steve J. Martin dated Nov. 9, 2023, and exhibits thereto                 596
 100      First Report of the Nunez Independent Monitor                                           269
 101      Second Report of the Nunez Independent Monitor                                          291
 102      Third Report of the Nunez Independent Monitor                                           295
 103      Fourth Report of the Nunez Independent Monitor                                          305


                                                   6
        Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 7 of 9




    Special Report of the Nunez Independent Monitor re: Locking Mechanisms at
104 RNDC                                                                               309
105 Fifth Report of the Nunez Independent Monitor                                      311
106 Sixth Report of the Nunez Independent Monitor                                      317
    Letter from the Office of the Monitor to the Court re: Update on Operation of
107 Horizon Juvenile Center                                                            318
    Letter from the Office of the Monitor to the Court re: Update on Operation of
108 Horizon Juvenile Center                                                            320
      Letter from the Office of the Monitor to the Court re: Update on Operation of
109   Horizon Juvenile Center                                                          325
110   Seventh Report of the Nunez Independent Monitor                                  327
111   Eighth Report of the Nunez Independent Monitor                                   332
112   Letter from the Office of the Monitor to the Court (re: COVID-19 Update)         338
113   Ninth Report of the Nunez Independent Monitor                                    341
114   Tenth Report of the Nunez Independent Monitor                                    360
115   First Remedial Order Report of the Nunez Independent Monitor                     365
116   Eleventh Report of the Nunez Independent Monitor                                 368
117   Second Remedial Order Report of the Nunez Independent Monitor                    373
118   Status Report Letter from the Office of the Monitor to the Court                 378
119   Status Report Letter from the Office of the Monitor to the Court                 380
120   Status Report Letter from the Office of the Monitor to the Court                 387
121   Letter from the Office of the Monitor to the Court re: Use of Force Discipline   399
122   Status Report Letter from the Office of the Monitor to the Court                 403
    Monitor’s First Report on the Conditions of Confinement for 16- and 17-Year-
123 Old Adolescent Offenders at the Horizon Juvenile Center (HOJC)                     409
124 Status Report Letter from the Office of the Monitor to the Court                   420
125 Status Report Letter from the Office of the Monitor to the Court                   429
126 Twelfth Report of the Nunez Independent Monitor                                    431
127 Third Remedial Order Report of the Nunez Independent Monitor                       435
128 Special Report of the Nunez Independent Monitor                                    438
129 Status Report of the Nunez Independent Monitor                                     445
    Letter from the Office of the Monitor to the Court re: Monitoring Team’s
130 Recommendations                                                                    448
    Monitor’s Second Report on the Conditions of Confinement for 16- and 17-Year-
131 Old Adolescent Offenders at the Horizon Juvenile Center (HOJC)                     452
132 Letter from the Office of the Monitor to the Court re: City & DOC’s Action Plan    454
133 Letter from the Office of the Monitor to the Court re: Updated Action Plan         462


                                               7
         Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 8 of 9




 134 Status Report of the Nunez Independent Monitor                                              467
       Monitor’s Third Report on the Conditions of Confinement for 16- and 17-Year-
 135   Old Adolescent Offenders at the Horizon Juvenile Center                                   471
 136   Second Status Report on DOC’s Action Plan by the Nunez Independent Monitor                472
 137   Letter from the Office of the Monitor to the Court re: Proposed Next Steps                475
 138   Special Report on Intake by the Nunez Independent Monitor                                 504
 139   Status Report on DOC’s Action Plan by the Nunez Independent Monitor                       517
 140   Status Report on DOC’s Action Plan by the Nunez Independent Monitor                       520
       Monitor’s Fourth Report on the Conditions of Confinement for 16- and 17-Year-
 141   Old Adolescent Offenders at the Horizon Juvenile Center                                   525
 142   Special Report of the Nunez Independent Monitor                                           533
       Letter from the Office of the Monitor to the Court re: Update on Monitor’s May
 143   26th Report                                                                               537
 144   Special Report by the Nunez Independent Monitor                                           541
       Letter from the Office of the Monitor to the Court re: Update for June 13th
 145   Emergency Conference                                                                      544
       Letter from the Office of the Monitor to the Court re: Monitor’s June 12th
 146   Proposed Order                                                                            546
 147   Special Report by the Nunez Independent Monitor                                           557
 148   Status Report by the Nunez Independent Monitor                                            561
 149   Status Report by the Nunez Independent Monitor                                            581
 150   Status Report by the Nunez Independent Monitor                                            595
 151   Letter from the Office of the Monitor to the Court re: Update regarding ARHU              599

       5.      I certify that counsel for the Plaintiff Class has used our best efforts to resolve

informally the matters raised in this Motion. Counsel for the Plaintiff Class sent Defendants a

notice of non-compliance on July 24, 2023. Defendants responded on August 23, 2023, disputing

that they were in non-compliance with the identified provisions of the Consent Judgment and

other Court orders. Counsel continued to engage in good faith negotiations as required by ¶

XXI.2 of the Consent Judgment, including by meeting on September 7, 2023 and September 8,

2023, but have not been able to resolve the dispute regarding non-compliance. See Dkt. 570.




                                                  8
       Case 1:11-cv-05845-LTS Document 602 Filed 11/17/23 Page 9 of 9




      I declare under penalty of perjury that the foregoing is true and correct.

Dated: November 17, 2023
       New York, New York


                                                       /s/ Mary Lynne Werlwas
                                                       Mary Lynne Werlwas




                                                9
